Case: 6:11-cr-00016-GFVT-HAI             Doc #: 318 Filed: 12/28/16            Page: 1 of 3 - Page
                                            ID#: 998



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON


 UNITED STATES OF AMERICA,                          )
                                                    )
       Plaintiff,                                   )         Criminal No. 6:11-cr-16-GFVT-01
                                                    )
 V.                                                 )
                                                    )                    ORDER
 CHRISTOPHER LEE CARTER,                            )
                                                    )
       Defendant.                                   )

                                       ***    ***       ***   ***

       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 316.] Defendant Christopher Lee Carter’s lengthy

history of supervised release violations is detailed in Judge Ingram’s Recommended Disposition,

but, most recently, Mr. Carter has been charged with one violation based on his possession of a

handgun in violation of KRS § 527.040. At a final revocation hearing before Judge Ingram on

December 12, 2016, Mr. Carter knowingly and voluntarily stipulated to the violation.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition advised the parties that objections must be filed within fourteen (14) days of service.

[Id. at 8-9.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition were filed within the appropriate time period by either party. Instead, Mr. Carter

through counsel filed a waiver of allocution on December 14, 2016. [R. 317.] Generally, this

Court must make a de novo determination of those portions of the Recommended Disposition to

which objections are made. 28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this

case, this Court is not required to “review . . . a magistrate’s factual or legal conclusions, under a
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 318 Filed: 12/28/16           Page: 2 of 3 - Page
                                           ID#: 999



de novo or any other standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail

to object to a magistrate judge’s report and recommendation are also barred from appealing a

district court’s order adopting that report and recommendation. United States v. Walters, 638

F.2d 947 (6th Cir. 1981).

       Nevertheless, this Court has examined the record, and it agrees with Magistrate Judge

Ingram’s Recommended Disposition. Judge Ingram appropriately considered the 18 U.S.C. §

3553 factors throughout his analysis. He noted Mr. Carter’s patterned criminal behavior and

emphasized that this was Carter’s third term of supervised release. [See R. 316 at 6-7.] While

Mr. Carter suffers from a severe drug addiction, Judge Ingram found the addiction does not

wholly mitigate Carter’s continued disregard for the law. [Id.] Ultimately, the Court agrees with

Judge Ingram that a sentence above the Guidelines Range is warranted here in light of Mr.

Carter’s repeated breaches of the Court’s trust and the need to protect the public and deter future

criminal conduct. The Court joins with Judge Ingram in admonishing the Defendant to find the

strength within himself to make better choices going forward, particularly in light of the fact that

no additional term of supervised release may be imposed. [See id. at 8.]

       Being sufficiently advised, it is hereby ORDERED as follows:

       1. The Recommended Disposition [R. 316] as to Defendant Christopher Lee Carter is

ADOPTED as and for the Opinion of the Court;

       2. Defendant Carter is found to have violated the terms of his supervised release as set

forth in the report filed by the United States Probation Officer and the Recommended

Disposition of the Magistrate Judge;

       3. Mr. Carter’s term of supervised release is REVOKED;

       4.   Mr. Carter is SENTENCED to a term of twenty (20) months of incarceration;



                                                 2
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 318 Filed: 12/28/16           Page: 3 of 3 - Page
                                          ID#: 1000



       5. Because the imposed period of incarceration exceeds the maximum authorized term

of supervised release, no additional term of supervised release shall follow [see R. 316 at 7-8];

and

       6. Judgment shall be entered promptly.

       This the 28th day of December, 2016.




                                                 3
